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                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO

LILLIAM IVETTE LABOY-SALICRUP;              *
ALEXANDRA ALFARO-LABOY;                     * Case No. 15-2112 (GAG)
ADRIANA MICHELLE LARREGUI-LABOY.            *
                                            * Re:
Plaintiffs                                  *
                                            * Willful Violations and Damages
vs.                                         *
                                            *
PUERTO RICO ELECTRIC POWER                  * Jury Trial Demanded
AUTHORITY; ACE INSURANCE COMPANY; *
ABC INSURANCE COMPANY;                      *
XYZ COMPANY; JOHN & JANE DOE.               *
                                            *
Defendants                                  *
_____________________________________________________________________________

               PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT

TO THE HONORABLE COURT:

          Come now the Plaintiffs Liliam Ivette Laboy-Salicrup, Alexandra Alfaro-Laboy, and

Adriana Michelle Larregui-Laboy, represented by the undersigned counsel, and file their

“Plaintiffs’ Motion For Partial Summary Judgment,” and would respectfully show unto this

Honorable Court the following:

                              I. SUMMARY JUDGMENT STANDARD

1. Federal Rule of Civil Procedure 56 (a) provides that: “A party may move for summary

       judgment, identifying each claim or defense – or the part of each claim or defense – on which

       summary judgment is sought.” The Court may grant the movant’s motion for summary

       judgment only when “the movant shows that there is no genuine dispute as to any material

       fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a); See

       also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S.Ct. 2505, 91 L.Ed.2d

       202(1986); NASCO, Inc. v. Public Storage, Inc., 29 F.3d 28 (1st Cir.1994). “The principal



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       judicial inquiry required by Rule 56 is whether a genuine issue of material fact exists.” 10A

       Wright, Miller & Kane, Federal Practice and Procedure: Civil, 3d § 2725, p. 401.

2. In this regard, the First Circuit Court of Appeals has noted that for a dispute to be “genuine,”

       there must be sufficient evidence to permit a reasonable trier of fact to resolve the issue in

       favor of the non-moving party. U.S. v. One Parcel of Real Property, 960 F.2d 200, 204 (1st

       Cir.1992); See also Boston Athletic Assn. v. Sullivan, 867 F.2d 22, 24 (1st Cir.1989);

       Medina-Muñoz v. R.J. Reynolds Tobacco, 896 F.2d 5, 8 (1st Cir.1990) “A ‘genuine’ issue is

       one that must be decided at trial because the evidence, viewed in the light most favorable to

       the nonmovant, would permit a rational fact-finder to resolve the issue in favor of either

       party.” (Citations Omitted).

3. Similarly, “material” means that the fact is one that might affect the outcome of the suit

       under the governing law. Morris v. Government Development Bank of Puerto Rico, 27 F.3d

       746, 748 (1st Cir.1994). “A fact is material if it tends to resolve any of the issues that have

       been properly raised by the parties.” 10A Wright, Miller & Kane, supra, § 2725 at p. 419.

       “Not every genuine factual conflict necessitates a trial. It is only when a disputed fact has the

       potential to change the outcome of the suit under the governing law if found favorably to the

       nonmovant that the materiality hurdle is cleared.” Martínez v. Colón, 54 F.3d 980, 983-984

       (1st Cir.1995).

4. In addition, when determining whether to grant summary judgment, the Court should not

       weigh the evidence. Casas Office Machines, Inc. v. Mita Copystar America, Inc., 42 F.3d

       668 (1st Cir.1994). Summary judgment “admits of no room for credibility determinations, no

       room for the measured weighing of conflicting evidence such as the trial process entails.” Id.

       (citing Greenburg v. Puerto Rico Maritime Shipping Authority, 835 F.2d 932, 936 (1st




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       Cir.1987)). Accordingly, if the facts permit more than one reasonable inference, the court on

       summary judgment may not adopt the inference least favorable to the non-moving party.

       Casas Office Machines, 42 F.3d at 684.

5. While the moving party has the burden of initially establishing that there is “an absence of

       evidence to support the nonmoving party’s case,” Maldonado-Denis v. Castillo-Rodríguez,

       23 F.3d 576, 581 (1st Cir.1994), the nonmovant can meet its burden by offering the Court

       some evidence that defeats the moving party’s summary judgment motion. Lawton v. State

       Mutual Life Assurance Company of America, 101 F.3d 218, 223 (1st Cir.1996).

6. The role of the Court or Judge in a summary judgment proceeding is to make the “threshold

       inquiry of determining whether there is the need for a trial – whether, in other words, there

       are any genuine factual issues that properly can be resolved only by a finder of fact because

       they may reasonably be resolved in favor of either party.” Anderson v. Liberty Lobby, Inc.,

       477 U.S. 242, 250 (1986). If this inquiry reveals that there is no genuine issue as to any

       material fact and that the moving party is entitled to a judgment as a matter of law, judgment

       should be entered in his favor. Fed. R. Civ. P. 56 (a).

7. The issue brought before this Honorable Court in the present motion is one of a purely legal

       nature (matter of law), which does not require the celebration of a trial in order to be decided.

       Therefore, the mechanism provided by Rule 56 of Federal Civil Procedure is apt for our

       purpose.

8. Is the Puerto Rico Electric Power Authority (“PREPA”) immune from the present

       complaint or do PREPA’s actions fall under the “intentional” exception to the immunity

       provided by law? In the interest of pretrial procedural economy, the Plaintiffs respectfully

       bring forth the present request of partial summary judgment at this stage of the proceedings




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       in order to have the Court’s decision over this matter.

9. “The summary judgment mechanism contemplated by Fed.R.Civ.P. 56 is used to avoid a

       useless trial. It is a procedural device that makes possible the prompt disposition of

       controversies without a trial if in essence there is no real dispute as to the salient facts. Rule

       56, seen in light of a qualified-immunity defense under Harlow [Harlow v. Fitzgerald, 457

       U.S. 800, 102 S.Ct. 2727, 73 L.Ed.2d 396 (1982)] and De Abadía [De Abadía v. Izquierdo

       Mora, 792 F.2d 1187 (1st Cir. 1986)], serves two purposes. The first purpose is of pretrial

       procedural economy. As stated in De Abadía, 792 F.2d at 1189, citing from Mitchell v.

       Forsyth, 472 U.S. 511, 105 S.Ct. 2806, 86 L.Ed.2d 411 (1985), qualified immunity is more

       than immunity from money damages; it is ‘an immunity from suit ... which is effectively lost if

       a case is erroneously permitted to go to trial.’ ” Echevarria v. Gracia Anselmi, 642 F. Supp.

       843 (D. Puerto Rico 1986).

10. “Harlow specifically holds that the issue of qualified immunity is properly raised as part of

       the defendant's affirmative defenses incorporated as part of that party's responsive pleading.

       Harlow, 457 U.S. at 815, 102 S.Ct. at 2736. Of course, Harlow and Mitchell, followed by De

       Abadía, encourage the parties to obtain a pretrial determination on the issue if the particular

       circumstances of the case allow framing the defense in the context of a motion for summary

       judgment. Harlow, 457 U.S. at 816-21, 102 S.Ct. at 2737-40; De Abadía, 792 F.2d at 1188-

       1190.” Echevarria v. Gracia Anselmi, supra.

11. As expressed by the aforementioned jurisprudence, and acknowledged by the U.S. District

       Court for the District of Puerto Rico, controversies of which there exists no real dispute as to

       the facts, can and should be determined by the Court as soon as possible, in order to relieve

       the parties (and the Court) from incurring unnecessary expenses and litigation. Thus,




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       upholding the procedural economy principle.

12. The procedural economy principle is also found in found in local Rule 1 of Civil Procedure,

       which states the following: “The leading principle of the Rules of Civil Procedure is that all

       proceedings should be resolved in the most fair, speedy and economical manner possible.”

       (Translated From Spanish) Puerto Rico Rules of Civil Procedure, 32 L.P.R.A. Ap. V, R. 1.

13. It is the Plaintiffs’ position that the issue of whether Defendant PREPA is immune from the

       present complaint or that it falls under the “intentional” exception to the immunity provided

       by Puerto Rico’s Workmen’s Compensation Act, 11 L.P.R.A. sects. 1 et seq. (“PRWCA”),

       has ripened and is mature for summary disposition.

14. For Plaintiffs to prevail on this motion for partial summary judgment, we must simply bring

       forward evidence that demonstrates: (a) that Defendant PREPA’s conduct was

       willful/intentional; and, (b) that this “willful” conduct exempts PREPA from its statutory

       immunity under Puerto Rico’s workmen’s compensation laws. The Plaintiffs’ contend that a

       partial summary judgment proceeds in this case, based on the factual and legal finds that are

       exposed in the following sections.

                                     II. STATEMENT OF FACTS

15. The incident (“Subject Incident”) which is the basis of this lawsuit occurred during the day of

       November 13, 2014, while Hector Laboy-Salicrup (“Hector”) was working on an electric

       tower, located near Road PR-156, Rio Hondo II, Sector La Guitarra, in the town of Comerio,

       Puerto Rico.

16. At the time of his death, Hector was a regular employee of PREPA, which he had been for

       approximately twenty (20) years.




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17. Hector was Plaintiff Lilliam Laboy-Salicrup’s brother, Plaintiff Alexandra Alfaro-Laboy’s

       uncle, and Plaintiff Adriana Michelle Laguerri-Laboy’s uncle.

18. On the morning of November 13, 2014, Hector was sent by his supervisor to the Subject

       Area in order to work on an electric tower, approximately 80 feet high. Hector was at the top

       of the tower when it collapsed, causing Hector to die from his injuries.

19. The electric tower that collapsed was a lattice structure that was sustained by four tension

       cables, which provided the structure with support and stability. A few days before the Subject

       Incident, PREPA had removed two or the four tension cables, causing the tower to become

       unstable, certain to fall or sway.

20. When employees of PREPA finished the work on November 10, 2014, they were instructed

       by their superior not to reconnect the two tension cables that had been removed.

21. Before starting the job on November 13, 2014, in direct contravention to pertinent laws and

       regulations, PREPA’s Management intentionally did not inspect the work area, including the

       electric tower that was missing half of its stabilizing cables.

22. The Puerto Rico Police Department investigated the Subject Incident the day it occurred and

       rendered a report. No formal criminal charges were filed, as a result of the subject incident.

23. Officials of the Occupational Safety and Health Administration (“OSHA”) carried out a

       separate investigation and as result of this investigation, PREPA was found to have

       committed six violations to the Puerto Rico Occupational Safety and Health Act (Act No. 16

       of August 5, 1975, as amended).

24. After an Informal Conference was celebrated on May 5, 2015, OSHA’s findings resulted in

       the following six violations:




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        a. 29 CFR1926.21(b)(2): The employer did not instruct each employee in the

           recognition and avoidance of unsafe conditions and the regulations applicable to

           his/her environment to control or eliminate any hazards or other exposure to

           illness or injury.

               i. For this Serious violation, PREPA was issued a $2,000.00 fine.

        b. 29 CFR 1910.269(a)(2)(i): Employees were not trained in nor were they familiar

           with the safety-related work practices, safety procedures, and other safety

           requirements that pertained to their respective job assignments.

               i. For this Serious violation, PREPA was issued a $2,000.00 fine.

        c. 29 CFR 1910.269(a)(3): The employer did not determine existing conditions

           related to the safety of the work to be performed before work on or near electric

           lines or equipment was started.

               i. For this Serious violation, PREPA was issued a $7,000.00 fine.

        d. 29 CFR 1926.950(b)(1): Existing conditions shall be determined before starting

           work, by and inspection or a test Such conditions shall include but not be limited

           to energized lines and equipment conditions of poles and the location of circuits

           and equipment including power and communication lines CATV and fire alarm

           circuits.

               i. For this Willful-Serious violation, PREPA was issued a $70,000.00 fine.

        e. 2 OSH 1904.29(b)(1): A log of all recordable work-related injuries and illnesses

           (OSHO Form 300 or equivalent), was not completed in the detail as required by

           the regulation.

               i. For this Other-Than-Serious violation, PREPA was not issued a fine.




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              f. 29 CFR 1904.30(a): A Log of all Work-Related Injuries and Illnesses (OSHO

                  Form 300) and or the Summary of Work-Related Injuries and Illnesses (OSHO

                  Form 300A) and or the Injury and Illness Incident Report (OSHO Form 301) or

                  equivalent forms were not kept separate for each establishment.

                      i. For this Other-Than-Serious violation, PREPA was not issued a fine.

25. The above stated violations resulting from the OSHA Inspection 1008506, Report ID

       0257220, were not contested by PREPA, nor were OSHA’s findings. Instead, PREPA

       entered into an agreement with OSHA to lessen the quantity of the fines imposed. The results

       of OSHA’s investigation are final.

26. Section 17(e) of the Occupational Safety and Health Act of 1970 (“Act”) clearly expresses

       that a “willful” violation that resulted in the death of an employee, like the one committed by

       PREPA in the case at hand, would require the implementation of a maximum fine of ten

       thousand dollars ($10,000.00), if it is the first offense. It the case at hand, the fine

       implemented was in the amount of seventy thousand dollars ($70,000.00); seven times the

       statutory maximum for a first offense. PREPA’s conduct, as determined by OSHA, was

       willful and unlawful.

27. Defendant PREPA’s contentions, applicable to the matter at hand, as expressed in its

       Affirmative Defenses, Answer To The Amended Complaint, are the following:

              a. PREPA has immunity as a direct employer pursuant to Puerto Rico’s Workmen’s

                  Compensation Act.

              b. PREPA complied with all applicable regulations for the work being performed.

              c. PREPA is a covered employer pursuant to the Puerto Rico Workmen’s

                  Compensation Act.




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             d. The Puerto Rico Workmen’s Compensation Act grants PREPA complete

                 immunity from the allegations in the Amended Complaint given that the incident

                 alleged is a work related accident. Thus, there is no cause of action against

                 PREPA.

             e. The Complaint fails to allege the specific intentional requisite necessary to

                 prevent the applicability of the immunity provided by the Puerto Rico Workmen’s

                 Compensation Act.

             f. The complaint fails to state specific acts attributable to Defendants which amount

                 to the requisite intention necessary to impede the immunity provided by the

                 Puerto Rico Workmen’s Compensation Act.

28. Co-defendant ACE’s contentions, applicable to the matter at hand, as expressed in its

       Affirmative Defenses, Amended Answer To The Amended Complaint, are the following:

             a. PREPA is an insured employer under the State Insurance Fund Act, which grants

                 PREPA complete immunity from the allegations in the Amended Complaint,

                 meaning that there is, and can never be, a cause of action against PREPA or

                 against ACE because of the work related accident alleged in the Amended

                 Complaint.

             b. Plaintiffs are barred from seeking any remedies against PREPA or ACE in

                 accordance with the State Insurance Fund Act dispositions.

             c. The dispositions of the State Insurance Fund Act apply to the incident alleged in

                 the Amended Complaint.

             d. The failure alone of an insured employer to follow the legal obligation to maintain

                 safe conditions at work does not authorize any cause of action in favor of the




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                   employee nor does it affect the employer’s immunity under the law. Hernandez

                   Sanchez v. Bermudez Longo, 149 D.P.R. 543 (1999).

29. The Plaintiffs’ contention, as opposed to the Defendants, is that PREPA’s conduct that

       resulted in the death of Hector Laboy, meets the statutory requisites necessary to prevent the

       applicability of the immunity provided by the Puerto Rico Workmen’s Compensation Act.

       Thus, making the Defendants liable and responsible for the Plaintiffs’ damages, as claimed in

       the Amended Complaint.

                                        III. APPLICABLE LAW

30. The Puerto Rico Workmen’s Compensation Act establishes a compulsory insurance scheme

       whose purpose is to provide workers who suffer an injury or illness in the course of his/her

       work and as a result thereof, a quick and efficient remedy, free from the complexities of an

       ordinary judicial claim for damages. Soc. de Gananciales v. Royal Bank de P.R., 145 D.P.R.

       178 (1998); Catala Melendez v. Soto Rios, 99 T.S.P.R. 56.

31. Under PRWCA, an employee’s remedy for a work related injury against the direct employer

       and “statutory employer” is limited to a claim through the State Insurance Fund. 11 L.P.R.A.,

       sects. 20 et seq.

32. The State Insurance Fund, created by the PRWCA, represents the exclusive fund created and

       administered by the State, with the sole purpose of providing a speedy and efficient service

       and compensation to the insured and injured worker.

33. Under the PRWCA, employees waive any potential claims against their employers and the

       law confers absolute immunity to employers who insure their workmen. 11 P.R. Laws Ann. §

       21. Although certain exceptions exist.




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34. The Supreme Court of Puerto Rico has recognized that there are exceptions to the absolute

       immunity doctrine established in the PRWCA, one of them being accidents that are caused

       by intentional or discriminatory acts by the insured employer. In these types of situations, a

       civil torts claim is allowed in order to receive compensation for the damages caused by the

       employer’s intentional or discriminatory actions. Soc. de Gananciales v. Royal de P.R., 145

       D.P.R. 178 (1998); Odriozola v. Superior Cosmetic Distributors Corp., 116 D.P.R. 485

       (1985).

35. The jurisprudence relating to this issue has concluded that the aforementioned exception to

       the immunity doctrine does not apply to actions or omissions of gross negligence by the

       insured employer. In cases of gross negligence, the only available remedy is the one provided

       by the PRWCA and the State Insurance Fund. Guzmán Cotto v. Estado Libre Asociado de

       Puerto Rico, 156 DPR 693 (2002), 2002 TSPR 59; Hernández Sánchez v. Bermúdez &

       Longo, S.E., 149 D.P.R. 543 (1999); Admor, FSE v. Flores Hermanos Cement Products, Inc.,

       107 D.P.R. 789 (1978).

36. In other words, the real problem stems from differentiating what constitutes an intentional act

       as opposed to grossly negligent conduct. In the case at hand, the controversy revolves around

       the cause of Hector’s death. Was it caused by PREPA’s grossly negligent behavior or was it

       caused by an intentional act of PREPA?

37. The Supreme Court of Puerto Rico has repeatedly concluded that the main factor to be

       analyzed in this type of determination is the intent of the employer. The immunity exception

       applies if the accident was the result of the employer’s intent to produce such result. If the

       element of intent is missing, the exception does not apply. Hernández Sánchez v. Bermúdez

       & Longo, S.E., supra; Admor, FSE v. Flores Hermanos Cement Products, Inc., supra.




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38. In the case at hand, it is the Plaintiffs’ contention that PREPA possessed the necessary intent

       to cause the Subject Incident, in order for the exception to the immunity doctrine to be

       successfully applied. Furthermore, it is also the Plaintiffs’ contention that OSHA’s

       investigation of the Subject Incident serves as substantive evidence of PREPA’s intent. More

       on the subject will be discussed in the following section.

39. The Occupational Safety and Health Act was created in 1970 for the purpose of assuring safe

       and healthful working conditions for working men and women. This purpose is carried out

       by authorizing enforcement of the standards developed under the Act and by assisting and

       encouraging the States in their efforts to assure safe and healthful working conditions. The

       purpose of the Act is not to condone or excuse willful or intentional violations of an insured

       employer.

40. In Carmen Lydia Nieves Roman v. International Shipping Agency, Inc., 2010 PR App. Lexis

       3327, Puerto Rico’s Appellate Court expressed the following: “The Occupational Health and

       Safety Act of 1970 was created by the Congress of the United States as the administrative

       agency specialized in guarantying secure and healthy conditions for all workers.”

       (Translated From Spanish)

41. Puerto Rico’s Supreme Court has repeatedly stated that decisions made by administrative

       agencies are presumed correct. Otero v. Toyota, 163 D.P.R. 716 (2005); Pacheco v.

       Estancias, 160 D.P.R. 409 (2003). The reason for the aforementioned presumption is that the

       determinations made by these administrative agencies are made towards matters within their

       specialty and expertise. Rivera Concepcion v. ARPE, 152 D.P.R. 116 (2000); Fac. C.

       Aplicadas, Inc. v. CES, 133 D.P.R. 521 (1993).




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42. The deference that tribunals should give to administrative determinations is brought on by

       the knowledge that it is the administrative agencies that are in the best position to make these

       determinations, since it is the administrative agencies that possess the expertise and

       experience over the matter. Metropolitana S. E. v. ARPE, 138 D.P.R. 200 (1995); Gallardo v.

       Clavell, 131 D.P.R. 275 (1992).

43. In the case at hand, OSHA’s official determination, as consequence of PREPA’s conduct on

       the Subject Incident and as concluded from the administrative investigation, was that PREPA

       incurred in a “willful” violation and because of such “willful” violation a seventy thousand

       dollar ($70,000.00) fine was imposed.

44. The OSHA Field Inspection Reference Manual provides the following definitions: “Willful

       Violations. The following definitions and procedures apply whenever the CSHO suspects

       that a willful violation may exist: (1) A willful violation exists under the Act where the

       evidence shows either an intentional violation of the Act or plain indifference to its

       requirements. (a) The employer committed an intentional and knowing violation if: 1. An

       employer representative was aware of the requirements of the Act, or the existence of an

       applicable standard or regulation, and was also aware of a condition or practice in violation

       of those requirements, and did not abate the hazard. 2. An employer representative was not

       aware of the requirements of the Act or standards, but was aware of a comparable legal

       requirement (e.g., state or local law) and was also aware of a condition or practice in

       violation of that requirement, and did not abate the hazard.” Chapter III § C.2.d.(1)(a), Field

       Inspection Reference Manual, OSHA.

45. In regards to Criminal/Willful violations, the Act provides that: "Any employer who willfully

       violates any standard, rule or order promulgated pursuant to Section 6 of this Act, or of any




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       regulations prescribed pursuant to this Act, and that violation caused death to any employee,

       shall, upon conviction, be punished by a fine of not more than $10,000 or by imprisonment

       for not more than six months, or by both; except that if the conviction is for a violation

       committed after a first conviction of such person, punishment shall be a fine of not more than

       $20,000 or by imprisonment for not more than one year, or by both." Occupational Safety

       and Health Act of 1970, Sec. 17(e), 29 USC 666.

46. In United States v. Dye Construction, 510 F.2d 78, the only case to address the issue of what

       constitutes "willfulness" for the purpose of finding a criminal violation, the court concluded

       that Section 666(e) of the Act does not require that the government prove that the employer

       entertained a specific intent to harm the employee or that the employer's action involved

       moral turpitude. In the aforementioned case, the court approved the following jury

       instruction: “The failure to comply with a safety standard under the Occupational Safety

       Health Act is willful if done knowingly and purposely by an employer who, having a free will

       or choice, either intentionally disregards the standard or is plainly indifferent to its

       requirement. An omission or failure to act is willfully done if done voluntarily and

       intentionally.” United States v. Dye Construction, supra.

47. The aforementioned definition (jury instruction) of “willfulness” has been widely adopted by

       the Circuits in the context of OSHA civil enforcement. See Valdak Corp. v. OSHRC, 73 F.3d

       1466 (8th Cir. 1996); Ensign Beckford Co., v. OSHRC, 717 F.2d 1419, 1422 (D.C Cir. 1983).

48. In other words, a violation is considered willful or intentional for criminal purposes, not only

       if the employer knows of a safety standard and decides to disobey or it; but also if an

       employer intentionally disregards the safety standard or simply does not care of its existence.




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49. “Ignorance of the applicable standard is not a defense, where intentional disregard or plain

       indifference to the requirements of the law can be shown. For example, a company may not

       fail to make its supervisors on the job site aware of OSHA regulations, then plead ignorance

       when caught in a violation.” Georgia Electric Co. v. Marshall, 595 F.2d at 320. Such conduct

       itself shows plain indifference to the requirements of the law.

50. In regards to the subject of immunity (applicable to absolute immunity), the Supreme Court

       of the United States has stated the following: “By defining the limits of qualified immunity

       essentially in objective terms, we provide no license to lawless conduct. The public interest in

       deterrence of unlawful conduct and in compensation of victims remains protected by a test

       that focuses on the objective legal reasonableness of an official's acts. Where an official

       could be expected to know that certain conduct would violate statutory or constitutional

       rights, he should be made to hesitate; and a person who suffers injury caused by such

       conduct may have a cause of action.” Harlow v. Fitzgerald, 457 U. S. at 819, 102 S.Ct. at

       2738.

51. In other words, the law (federal and/or state) is not created, nor is it meant to be enforced as a

       way to protect lawless conduct. In the case at hand, PREPA’s conduct was lawless and

       therefore, the immunity provided by the Act should not be applied.

52. For the reasons stated in the following section of the present document, it is the Plaintiffs’

       contention that PREPA’s conduct during the Subject Incident meets the necessary

       “intentional” requirement, as stated by law, to trigger the employer immunity exception.

                                         IV. BRIEF IN SUPPORT

53. With respect to PREPA, a utility company in Puerto Rico, the Supreme Court of Puerto Rico

       has repeatedly recognized that PREPA, as an entity that produces and distributes electricity,




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       has the duty to exercise the highest degree of care, due to the dangerous nature of the product

       that it markets. Torres Solís v. A.E.E., 136 D.P.R. 302, 310 (1994); Méndez Purcell v.

       A.F.F., 110 D.P.R. 130, 134 (1980); Burgos Quiñones v. A.F.F., 90 D.P.R. 613, 619 (1964);

       Ramos v. A.F.F., 86 D.P.R. 603, 609 (1962).

54. In fact, PREPA’s elevated duty of care covers everything from the initial installation to the

       ongoing required maintenance of its equipment, as well as the operation of its power

       generating plants and facilities. Ramos v. A.F.F., supra. Moreover, the Supreme Court has

       imposed on PREPA a duty to carry out adequate and routine inspections of its electrical units

       and equipment in order to discover and detect hazardous defects and dangerous conditions

       that could place the public’s safety in jeopardy, as well as PREPA employees.

55. As Judge Salvador E. Casellas discussed in the case of Martinez de Jesus v. Puerto Rico

       Electric Power Authority, 256 F. Supp. 2d 122, 125 (D. Puerto Rico 2003), the Puerto Rico

       Supreme Court has imposed a continuing and heightened duty of care on PREPA in light of

       the dangerous nature of its business and the harm that can be caused by its electricity. This

       duty of care encompasses the public, as well as PREPA employees.

56. The logic for imposing an elevated duty on Defendant PREPA relates to the dangerous and

       hazardous industry through which it profits: the transmission and distribution of electricity.

       Because Defendant PREPA is the sole provider of electricity on the island, it possesses

       unique and specialized knowledge relating to the safe transmission and distribution of its

       electricity. In light of this knowledge and unique position, it is required to comply with a

       more rigorous and elevated duty of care. See Martinez de Jesus v. Puerto Rico Electric Power

       Authority, supra.




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57. In light of PREPA’s clear breach of duty in the case at hand, the intentional actions and/or

       omissions during the Subject Incident caused the damages claimed in the Amended

       Complaint. PREPA’s intentional conduct, as stated in the OSHA Report, and corroborated

       with the definitions provided by Occupational Safety and Health (Section 17(e)), in regards

       to “willful” and “criminal,” is to be considered enough to meet the immunity exception

       requirement.

58. No PREPA employee was criminally charged as consequence of Hector’s death, but the fact

       still remains that PREPA’s conduct was criminally punishable. The reasons for not

       presenting criminal charges against PREPA are not important in this stage of the process;

       what is important in order to establish the necessary intention is that the conduct was and

       criminally punishable.

59. It is a fact not in controversy that Hector’s death occurred in the course of his workday as a

       PREPA employee. Specifically, Hector had been assigned to work on the top of an 80-foot

       electric tower, which has two of its four tension cables missing. It is a fact not in controversy

       that removing two out of four tension cables made the tower unstable and certain to sway or

       fall. It is a fact not in controversy that PREPA personnel removed these two tension cables

       intentionally, as well as it is not in controversy that PREPA personnel intentionally did not

       reconnect the cables removed. Thus, intentionally creating the unnecessary dangerous

       situation and showing the intent to cause harm.

60. PREPA’s intentional action was the proximate and direct and only cause for the Subject

       Incident. PREPA’s conduct cannot be reasonably considered a mere error in judgment or a

       simple violation of security protocol. It is an undeniable fact that PREPA personnel

       intentionally removed the cables, intentionally did not reconnect them, intentionally created




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       the dangerous situation, intentionally did not carry out the necessary site inspection before

       commencing the workday, and intentionally caused the accident.

61. The “intent” requirement, as explained by the Supreme Court of Puerto Rico, does not entail

       a specific interest in a specific result; for the immunity exception to prosper the non-specific

       intent of causing an “incident” is enough. In other words, for the immunity exception to

       progress it is not necessary to prove that PREPA wanted or intended for Hector (or any

       employee) to die. In no way are the Plaintiffs suggesting that PREPA intentionally caused

       Hector’s death. But the Plaintiffs are suggesting that PREPA’s intent was for an accident to

       occur. As concluded by the Supreme Court, this criminally punishable, non-specific intent is

       enough to bar the employer from the immunity protection.

62. To name one of the possible criminally punishable actions that PREPA was liable for, Article

       94 of the Penal Code of Puerto Rico, 2012 L.P.R. 146, codifies the crime of “Negligent

       Homicide,” in its pertinent part, as follows: “Every person that causes the death of another

       due to negligence will incur in a misdemeanor, but a fixed three (3) year confinement

       sentence will be imposed.” (Translated From Spanish)

63. As concluded from the OSHA investigation of the Subject Incident, PREPA committed the

       following Willful-Serious violation: “29 CFR 1926.950(b)(1): Existing conditions shall be

       determined before starting work, by an inspection or a test. Such conditions shall include but

       not be limited to energized lines and equipment conditions of poles and the location of

       circuits and equipment including power and communication lines CATV and fire alarm

       circuits.” OSHA Inspection 1008506, CSHO ID U0117, Citation and Notification of Penalty.

64. The aforementioned document, titled Citation and Notification of Penalty, clearly concludes

       that PREPA the pertinent personnel from UITICE brigade willfully omitted the required




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       inspection. OSHA’s investigation also concluded that if such required inspection had been

       performed, the accident would have been avoided, since “it was evident at plain sight that the

       lattice tower was missing two tension cables.” OSHA Inspection 1008506, CSHO ID U0117,

       Citation and Notification of Penalty. Evidence attached as Exhibit #A.

65. For the aforementioned willfully serious violation PREPA was fined $70,000.00. The reason

       for the large sum of the fine (seven times the quantity established in the Occupational Safety

       and Health Act) was due to the gravity of the violation and to the fact that PREPA had

       repeatedly incurred in such intentional misconduct.

66. From OSHA’s own reports, provided by the U.S. Department of Labor, through the OSHA

       IntraNet, it is evident that PREPA has repeatedly incurred in similar violations in the past,

       and still does. A search of OSHA’s inspections of Defendant PREPA presents us with

       evidence of over one hundred violations, ranging from Other-Than-Serious to Willful)

       committed by PREPA since the year 2010 to the present.

67. Prior to the subject incident, PREPA had already been fined with a willful violation of a

       similar nature on March 15, 2010, OSHA Inspection #311390835, office of Mayaguez,

       Puerto Rico. Another willful violation was issued against PREPA in the year 2010, as a result

       of OSHA Inspection #314004599, office of San Juan, Puerto Rico. In January 1, 2011,

       PREPA was fined for five willful violations, as result of OSHA Inspection #3140009341,

       office of San Juan, Puerto Rico. Based on PREPA’s OSHA record, there is no doubt that

       PREPA’s repeated misconduct is of an intentional nature. Evidence attached as Exhibit #B.

68. PREPA’s long track history of intentional misconduct only fuels Plaintiffs’ contentions in

       regards to the nature of PREPA’s intent, as opposed to gross negligence. As defined by the

       Supreme Court of Puerto Rico, the main difference between an intentional act and an




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       instance of gross negligence is the “intent” possessed by the employer in the commission of

       the incident.

69. “We have resolved that intentional acts of the employer that cause damage to an employee

       are not compensable under the law [PRWCA].” Soc. de Gananciales v. Royal Bank de

       Puerto Rico, supra; Odriozola v. Cosmetic Dist. Corp., supra. “In this scenario, the possibly

       illegitimate conduct – and in some contexts the possibly criminal conduct – [of the employer]

       is not immune from an ordinary torts claim, since such action cannot be reasonably

       considered an action related to the normal performance of the job.” (Translated From

       Spanish) Soc. de Gananciales v. Royal Bank de Puerto Rico, supra.

70. On the other hand, gross negligence does not require intent. According to the legal

       encyclopedia American Jurisprudence, the concept of “gross negligence” is defined as

       follows: “Very great negligence or as the want of even slight care, or ‘slight diligence.’

       Gross negligence requires proof of something more than the lack of ordinary care. It implies

       an extreme departure from ordinary standard of care, ‘aggravated’ negligence, or

       negligence substantially and appreciably greater than ordinary negligence.” 57A Am Jur 2d

       § 243 (Omitted Citations)

71. The distinction between the two is clear: intentional acts require intent to created a desired

       effect and gross negligence only entails a degree of negligence higher than that of ordinary

       negligence. From the facts not in dispute of the case at hand, the factual circumstances

       surrounding the Subject Incident, OSHA’s reported findings, PREPA’s conscious decision

       not to contest OSHA’s findings, PREPA’s extensive record of similar violations, and the

       applicable laws pertinent to the employer absolute immunity doctrine, as well as the related




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       jurisprudence on the issue, it becomes transparent that PREPA’s conduct was intentional, not

       just grossly negligent.

72. PREPA’s intentional decision to ignore well-established policies and procedures prevents its

       unauthorized behavior from being cloaked under mask of employer immunity protection. It is

       not in dispute that PREPA’s behavior was in direct violation of the applicable laws and

       policies and that its conduct is necessarily worse than the “grossly negligent” conduct for

       which the Defendants’ liability is limited by the PRWCA.

73. PREPA did not just disregard well-established federal and local safety protocol; PREPA’s

       conduct goes beyond the realm of “lack of diligence,” “complete indifference,” and/or “total

       disregard or concern.” By admitting that PREPA knew of the dangerous (life-threatening)

       situation created by PREPA and intentionally deciding not to perform the required site

       inspection and consciously sending an employee to perform a job under the intentionally

       created life-threatening circumstances, PREPA actively participated in occurrence of an

       accident. PREPA’s intentional actions can only be construed as desire to cause an accident.

       Like it was stated before, PREPA did not desire for one of its employees to perish, but

       PREPA intentionally create the perfect scenario for the type of accident that inevitably would

       occur.

74. According to OSHA’s Field Inspection Reference Manual and to the results of its

       investigation of the subject incident, it was concluded that PREPA’s conduct constituted a

       willful violation. In other words, PREPA’s conduct was not categorized as negligent, but as

       willful.

75. “A willful violation exists under the Act where the evidence shows either an intentional

       violation of the Act or plain indifference to its requirements.” Chapter III-13, Section




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       C.2.d(1), OSHA Field Inspection Reference Manual. As it was mentioned before, PREPA’s

       conduct goes beyond “plain indifference,” it constitutes an intentional violation of the Act, as

       well as the applicable laws.

76. As a direct consequence of PREPA’s intentional actions and/or omissions, Hector was

       ordered to work on an unstable, unsupported, and dangerous structure, which was certain to

       fall or sway. The Subject Incident occurred solely due to PREPA’s willful action of creating

       and maintaining a dangerous condition, which would cause, as it did in the instant case, death

       or serious injury at a place where employees performed their duties.

                                            V. CONCLUSION

77. Defendant PREPA’s claim to absolute employer immunity protection, as exemplified by the

       PRWCA, is not applicable to the case at hand. The present case falls within the judicially

       accepted exception to the absolute employer immunity doctrine. The Plaintiffs’ ample

       evidence of PREPA’s intentional conduct, set out in the previous portions of this document,

       is sufficient under Federal and Puerto Rico law to defeat absolute immunity.

78. The Plaintiffs actively contend that no Defendant in this case is entitled to the immunity

       protection provided by the PRWCA. The Plaintiffs assert that substantial evidence has been

       presented on breach, causation, and the necessary intent. Therefore, at this stage, as a matter

       of law, the present request for partial summary judgment should be granted by this

       Honorable Court.



       WHEREFORE, it is respectfully requested that this Honorable Court take notice of the

present motion.




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        CERTIFICATION: We here certify that on this same date we electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system that will send notification of

such filing to all counsels.


        In San Juan, Puerto Rico, this 14th of April of 2016.


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